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 9
10                           UNITED STATES DISTRICT COURT
11                         CENTRAL DISTRICT OF CALIFORNIA
12
                                   WESTERN DIVISION
13
     SHLA GROUP INC., PARK 2580, INC.,       Case No. 2:23-cv-07567-TJH-BFM
14
                     Plaintiffs,             [Hon. Judge Terry J. Hatter, Jr.]
15
              v.                             DECLARATION OF JEFFREY
16                                           KISSLER IN SUPPORT OF
     KISSLER AND CO. INC.                    MOTION TO DISMISS
17
                     Defendant.              [Filed concurrently with (1) Motion; (2)
18                                           Request for Judicial Notice; and (3)
                                             [Proposed] Order]
19
                                             Date:           March 4, 2024
20                                           Time:           UNDER SUBMISSION
                                             Courtroom:      9C
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             DECLARATION OF JEFFREY KISSLER IN SUPPORT OF MOTION TO DISMISS
     507357243.4
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 1       I, Jeffrey Kissler, declare as follows:
 2            1.   I am a Regional Sales Manager of Kissler and Co. Inc. (“Kissler and Co.”)
 3   and have held that position since 2012. I submit this declaration in support of Kissler
 4   and Co.’s Motion to Dismiss Various Causes of Action in Plaintiffs’ Complaint in the
 5   action styled SHLA Group Inc., et al. v. Kissler and Co. Inc., C.D. Cal. Case No. 2:23-
 6   cv-07567-TJH-BFM. I have personal knowledge of the facts set forth below and, if
 7   called as a witness, I could and would competently testify to them.
 8            2.   Attached hereto as “Exhibit A” is a true and correct copy of an email
 9   exchange on which I was CC’d, ranging from July 7, 2021 to July 27, 2021 (with
10   certain commercially sensitive figures redacted, as indicated on the document),
11   between Mr. Gang He of SHLA Group Inc. (“SHLA”), on the one hand, and my
12   colleague Glenn Kissler of Kissler and Co., on the other.
13            3.   Attached hereto as “Exhibit B” is a true and correct copy of an email
14   exchange between myself and Mr. He that occurred over the course December 17,
15   2021.
16            4.   Attached hereto as “Exhibit C” is a true and correct copy of an email
17   exchange between myself and Mr. He that occurred over the course of December 23,
18   2021.
19            I declare under penalty of perjury under the laws of the United States of
20   America the foregoing is true and correct.
21
22   Executed on January 16
                         __, 2024.
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                                                   Jeffrey Kissler
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             DECLARATION OF JEFFREY KISSLER IN SUPPORT OF MOTION TO DISMISS
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